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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


 PETER A. CHIEJINA and
 PICCOL NIGERIA LTD.,
                                                   No. 1:21-cv-02241-RJL
                 Petitioners,

         vs.

 FEDERAL REPUBLIC OF NIGERIA,

                 Respondent


                PETITIONERS’ NOTICE OF SUPPLEMENTAL AUTHORITY

        The petitioners, Peter A. Chiejina and PICCOL Nigeria Ltd., submit as a supplemental

authority in support of their opposition to the respondent’s motion to dismiss the DC Circuit’s

opinion in Process & Industrial Development Ltd. v. Federal Republic of Nigeria, case no. 21-

7003, which was issued on March 11, 2022. The slip opinion is attached to this notice as

Exhibit 1.

        The new opinion avoids decision on whether the DC Circuit will formally adopt the rule

of Seetransport Wiking Trader Schiffarhtsgesellschaft mbH & Co. v. Navimplex Centrala

Navala, 989 F.2d 572 (2d Cir. 1993), on the implied waiver of foreign sovereign immunity, a

matter discussed on pages 16-17 of the petitioners’ memorandum in opposition. Instead, it

affirms the District Court denial of Nigeria’s motion to dismiss for lack of jurisdiction on

alternate grounds under the arbitration exception to foreign sovereign immunity. The opinion

states that although the DC Circuit “has not formally adopted” Seetransport, it has “favorably

cited Seetransport and its reasoning in dicta and in an unpublished opinion.” Process & Indus.

Dev., slip op. at 6.
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         The petitioners respectfully request that the Court consider this supplemental authority in

connection with the parties’ arguments on implied waiver, and in particular when evaluating

Nigeria’s argument (Reply Mem. at 8) that the DC Circuit’s invitation to the United States to

submit its views on implicit waiver as an amicus curiae indicated that the court was

reconsidering the favorable view of Seetransport it took in Creighton Ltd. v. Government of

Qatar, 181 F.3d 118 (D.C. Cir. 1999), and Tatneft v. Ukraine, 771 Fed. App’x 9 (D.C. Cir.

2019).



                                                              Respectfully submitted,


                                                              PETER A. CHIEJINA and
                                                              PICCOL NIGERIA LTD.

                                                              By their attorney:

                                                              /s/ Theodore J. Folkman

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